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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

    Betty Adair,                                 )
                                                 )
                     Plaintiff,                  )
                                                 )   Case No.: 4:22-cv-00261-TCK-JFJ
    vs.                                          )
                                                 )
    Wal-Mart Stores East, L.P.;                  )
    Claims Management, Inc.                      )
                                                 )
                    Defendants.                  )

                                       NOTICE OF FILING

          COME NOW, the Defendants, Wal-Mart Stores East, L.P. and Claims Management, Inc.,

  and hereby notify the Court of the filing of the Notice of Removal with the District Court of Tulsa

  County, State of Oklahoma, a copy of which is attached as Exhibit 1.

                                               Respectfully submitted,

                                               LATHAM, STEELE, LEHMAN,
                                               KEELE, RATCLIFF, FREIJE & CARTER, P.C.

                                               s/Mark T. Steele
                                               Mark T. Steele, OBA # 14078
                                               Cyrus N. Lawyer, OBA # 22622
                                               1515 East 71st Street. Suite 200
                                               Tulsa, OK 74136
                                               (918) 970-2000 Telephone
                                               (918) 970-2002 Facsimile
                                               msteele@law-lsl.com
                                               nlawyer@law-lsl.com
                                               Attorneys for Defendants

                                    CERTIFICATE OF SERVICE
  I hereby certify that on June 24, 2022, I electronically transmitted the foregoing document to the
  Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic Filing to
  the following ECF registrants:

          J. Brian Brandes
          Andrew C. Jayne
          Attorneys for Plaintiff
                                               s/Mark T. Steele
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                                EXHIBIT 1

    Acknowledgment of the Clerk of the District Court in
     and for Tulsa County, Oklahoma of Receipt of the
                    Notice of Removal



          Filed in Tulsa County Case No. CJ-2019-48
                         June 24, 2022
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                        IN THE DISTRICT COURT OF TULSA COUNTY
                                  STATE OF OKLAHOMA

    BETTY ADAIR,                                  )
                                                  )
                    Plaintiff,                    )
                                                  )   Case No.: CJ-2019-00048
    vs.                                           )   Judge Greenough
                                                  )
    1.   WAL-MART STORES EAST, L.P.               )
    2.   WAL-MART ASSOCIATES, INC.                )                              DISTRICT COURT
    3.   CLAIMS MANAGEMENT NC.                    )                                             E 0
    4.   SABRINA CRAWFORD and                     )                                  JuN 2 4 2022
    5.   JOHN DOES 1-10,                          )
                                                                                              Court Clerk
                   Defendants.                    )                                    OkA 1k$ COUNTY


            ACKNOWLEDGMENT OF THE CLERK OF THE DISTRICT COURT
                   IN AND FOR TULSA COUNTY, OKLAHOMA
                  OF RECEIPT OF THE NOTICE OF REMOVAL

          The undersigned Clerk of the District Court in and for Tulsa County, Oklahoma, hereby

  acknowledges receipt of the Notice ofRemoval, Case No. 22-cv-00261-TCK-JFJ filed in the U.S.

  District Court for the Northern District of Oklahoma by Defendants, Wal-Mart Stores East, L.P.

  and Claims Management, Inc.

          The Defendant filed the Notice of Removal pursuant to 28 U.S.C.       § 1332; 28 U.S.C. §
  1441; and 2$ U.S.C.   § 1446(c)(1). Pursuant to 22 U.S.C. § 1446(d), this State action shall proceed
  no further.

          Dated this day of__________ 2022.


                                                COURT CLERK
                                                  trict Court oLk11sa County, Oklahoma



                                          By.
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                         IN THE UMTED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA


     Betty Adair,                                 )
                                                  )
                      Plaintiff,                  )
                                                  )
     vs.                                          )   Case No.: 22-cv-261-TCK-JFJ
                                                  )
     1. Wal-Mart Stores East, LP.                 )
     2. Claims Management, Inc.;                  )
     3. Sabrina Crawford;                         )
                                                  )
                    Defendants.                   )

                                      NOTICE OF REMOVAL

           In accordance with the provisions set forth in 2$ U.S.C.   § 1441, et seq., notice of removal
   is given as follows: Defendant Wal-Mart Stores East, L.P. (proper name Walmart Stores, Inc.)

   removes this action from the District Court of Tulsa County, Case No. CJ-2019-00048 (“State

   Court Action”), to this Court pursuant to 22 U.S.C.   § §   1332 and 1441, et seq and LCvR8I.2.

   Pursuant to 28 U.S.C. § 1446 and LCvR81.2, a copy of the District Court Docket Sheet is attached

   hereto as Exhibit 1. Copies of all documents served and/or fited in the State Court Action are

   attached hereto as Exhibits 2-6.

       1. Plaintiff, Betty Adair, is an Oklahoma Resident.

      2. Wal-Mart Stores East, L.P. (Walmart) is a foreign Limited Partnership existing under and

           by virtue of the laws of the State of Delaware with its principal place of business in the

           City of Bentonville, County of Benton, State of Arkansas.

      3. Wal-Mart Associates, Inc. is a foreign corporation and was dismissed from this action on

           November 20, 2019.
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      4. Claims Management Inc., is a wholly owned subsidiary of Walmart. It is incorporated in

          the State of Arkansas and existing under and by virtue of the laws of the State of Arkansas

          with its principal place of business in the City of Rogers, County of Benton, State of

          Arkansas.

      5. Upon knowledge, information, and belief, Sabrina Crawford is an Oklahoma resident.
                                                                                                 81st
      6. On August 19, 201$, Plaintiff was shopping at the Wal-Mart Supercenter located at

          and Lewis in Tulsa, Oklahoma. As Plaintiff was preparing to enter the women’s restroom,

          Co-Defendant, Sabrina Crawford, exited the restroom and attacked her. The time between

         the door opening and the attack was less than one second. The entire incident was captured

         on the store’s surveillance camera and confirms that Crawford attacked Plaintiff.

      7. Crawford was arrested, charged, and convicted of assault and battery.

      8. This cause of action was filed on January 4, 2019. Plaintiff filed suit against Crawford for

         assault and battery. Plaintiff sued Walmart Stores East, L.P. and Walmart Associates, Inc.

         (collectively Walmart) alleging negligent training, negligent supervision, failure to

         maintain premises, and respondeat superior. Plaintiff also sued Claims Management, Inc.

         for negligence.

      9. The District Court of Tulsa County, in which this action is pending, is located within this

         Court’s jurisdiction.

      10. Walmart was properly served and filed its Answer on June 3, 2019.

      11. Claims Management, Inc. was properly served and filed its Answer on Jun 3, 2019.

      12. Crawford was never personally served and never filed a responsive pleading.

      13. On May 27, 2022, Plaintiff voluntarily dismissed Crawford from this lawsuit without ever

         having taken any action toward Crawford.
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       14. Because Crawford was an Oklahoma resident, removal was not possible prior to her being

          dismissed on May 27, 2022.

       15. Pursuant to 28 U.S.C.    § 1446(b), Defendant has filed this Notice of Removal within the
          required 30 days after receipt by the Defendant “of a copy of the initial pleading setting

          forth the claim for relief upon which such action or proceeding is based.” Specifically, the

          receipt of Crawford’s dismissal filed on May 27, 2022.

      16. This Notice is being filed more than one year after the commencement of this action.

          However, based upon the actions of Plaintiff, removal is appropriate at this time as

          “Plaintiff has acted in bad faith in order to prevent a defendant from removing the action.”

          28 U.S.C. §1446(c)(1). Plaintiffs failure to actively litigate her case against Crawford is

          deemed to be bad faith.

      17. Oklahoma District Courts have looked to the rule set forth Aguayo v. Amco Insurance Co.,

          59 F Supp. 3d 1225 (D.N.M. 2014) to determine if bad faith exists. (“First, the court

          inquires whether the plaintiff actively litigated against the removal spoiler in state court:

          asserting valid claims, taking discovery, negotiating settlement, seeking default judgments

          if the defendant does not answer the complaint, et. cetera. Failure to actively litigate against

         the removal spoiler will be deemed bad faith”). See, Higgins v. Phila. Indem. Ins. Co. 2016

         U.S. Dist. LEXIS 148957 (N.D. 2017), Holeman v. Coventry Health, 2017 U.S. Dist

         LEXIS 190903 (WD, 2017), Stevens v. Winthrop Hosp. Inc., 2020 U.S. Dist. LEXIS 46866

         (E.D. 2020).”

      1$. Here, Plaintiff failed to actively litigate the case against Crawford. Plaintiff could have

         personally served Crawford but declined. Plaintiff could have taken default judgment
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           against Plaintiff but declined. Instead, Plaintiff voluntarily dismissed Crawford more than

           three years after this case was filed.

       19. Claims Management, Inc. and Walmart are the only remining defendants in this action.

       20. Claims Management, Inc. consents to the removal of this action.

       21. Written notice of the filing of this Notice of Removal is being promptly given to Plaintiff

           and a Notice of Filing of Notice of Removal is promptly being filed with the clerk of the

           District Court of Craig County, as required by 28 U.S.C.     § 1446(d).


   JURY TRIAL DEMANDED

                                                    Respectfully submitted,

                                                    LATHAM, STEELE, LEHMAN,
                                                    KEELE, RATCLIFF, FREIJE & CARTER, P.C.


                                                    s/Mark T. Steele
                                                    Mark T. Steele, OBA # 14078
                                                    Cyrus N. Lawyer, OBA # 22622
                                                    1515 East 7Ut Street. Suite 200
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                                                    msteele@law-lsl.com
                                                    nlawyer@law-lsl .com
                                                    Attorneysfor Defendants

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   Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic filing to
   the following ECF registrants:

          Name(s) Only:

                  J. Brian Brandes
                  Andrew C. Jayne
                                                    c/A’fork T Steele
